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                         Exhibit E
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    ANDREWS                                                                                                   Andrews Kurth LLP
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                                                                                                              RobHoffman@andrewskurth.com



                                                          August 29, 2016




    Joseph A. Ziemianski                                                   Via Email: jziemianski@cozen.com
    Cozen 0' Connor
    LyondellBasell Tower
    1221 McKinney, Suite 2900
    Houston, Texas 77010

             Re:      Insured:                    Total Rx Care, LLC ("Total Care")
                      Policy No.:                 000036033480/000001
                      Writing Co.:                Great Northern Insurance Company
                      Date of Loss:               December 26, 2015
                      Cause of Loss:              Tornado
                      Claim No.:                  040515081287

    Dear Mr. Ziemianski:

             I attach the following documents:

              1.       Exhibit A. Belfor Property Restoration's ("Belfor") mvmce for restoration and
                       repair in the amount of$1,305,233.44; and

             2.        Exhibit B. Real Estate Partners -83 5 's notice of default. I

            As you are likely fully aware, the Insured was advised by Great Northern to accept Belfor as
    the contractor for repair and replacement in conjunction with the above-referenced loss. Great
    Northern assured the Insured that Great Northern would pay for all of Belfor's work. The Insured
    relied on Great Northern's representation. Belfor completed its work on or about July 21, 2016 and
    provided its invoice to Great Northern shortly thereafter.

            According to Belfor, Great Northern has recently reneged on its promise to pay Belfor. As a
    result, Belfor filed a lien against the property leased by the Insured, which lien has caused the
    landlord to issue the August 24, 2016 notice of default attached hereto as Exhibit B. As you would
    expect, the Belfor lien constitutes breach of a standard lease covenant. See Exhibit B. The deadline
    to cure such breach is September 23, 2016. If Great Northern fails to pay Belfor as Great Northern


    I Real Estate Partners-835 is the management company that represents the Insured's landlord.



    Austin  Beijing   Dallas   Dubai   Houston   London   New York   Research Triangle Park   The Woodlands      Washington, DC
    DAL:944941.1


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    August 29, 2016
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    promised, the Insured's landlord may terminate the lease with the Insured or pursue other penalties
    against the Insured. This would cause the Insured to suffer serious harm.

            According to Belfor, Great Northern refuses to pay Belfor for one reason-on the grounds
    that the repair costs were supposedly paid to the Insured by Pharmacy Mutual. Such grounds to
    avoid payment by Great Northern are misplaced. First, insurance proceeds received by Pharmacy
    Mutual were paid in February 2016, long before Belfor completed its repairs and issued an invoice.
    There were no Belfor costs to pay at that point. Second, all proceeds received from Pharmacy
    Mutual were allocated by the Insured to that policy's business interruption coverage.

            Please be advised that if Belfor is not paid by Great Northern before September 23, 2016,
    the Insured will hold Great Northern fully responsible for all applicable losses and actual damages
    sustained as a result, including but not limited to loss of credit worthiness, the costs and lost revenue
    associated with lease termination, attorneys' fees and costs, any penalties levied by the Insured's
    landlord, etc.

          As you know, the Texas Insurance Code is construed broadly to protect insureds from the
    games Great Northern is obviously intent on playing in this matter.

             Please let me know if you have any questions or would like to discuss.




    RMH:ctk
    Encls.




    DAL:94494l.l


                                                                                                         APP000143
